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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

 WILLIE M. MITCHELL,

                                          Petitioner,
                                                           CIVIL CASE NO. 05-40201
 v.                                                        CRIMINAL CASE NO. 00-50040

 UNITED STATES OF AMERICA,                                 HONORABLE PAUL V. GADOLA
                                                           U.S. DISTRICT COURT
                               Respondent.
 _______________________________________/


               ORDER ACCEPTING REPORT AND RECOMMENDATION

       Before the Court is Petitioner’s motion to vacate, set aside, or correct sentence, pursuant to

28 U.S.C. § 2255, and the Report and Recommendation of the Honorable Donald A. Scheer, United

States Magistrate Judge. Petitioner filed his motion on June 27, 2005. The Magistrate Judge

recommends that this Court deny Petitioner’s motion because of his failure to file his claim within

the applicable one-year period of limitations contained in the Antiterrorism and Effective Death

Penalty Act of 1996 (“AEDPA”). The Magistrate Judge filed the Report and Recommendation on

November 29, 2005 and notified all the parties that any objections must be filed within ten days of

service. Neither party has filed objections to the Report and Recommendation.

       The Court’s standard of review for a Magistrate Judge’s Report and Recommendation

depends upon whether a party files objections. If a party does not object to the Report and

Recommendation, the Court does not need to conduct a review by any standard. See Lardie v.

Birkett, 221 F. Supp. 2d 806, 807 (E.D. Mich. 2002) (Gadola, J.). As the Supreme Court observed,

“[i]t does not appear that Congress intended to require district court review of a magistrate’s factual
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or legal conclusions, under a de novo or any other standard, when neither party objects to those

findings.” Thomas v. Arn, 474 U.S. 140, 150 (1985). Since neither party has filed objections to the

Report and Recommendation, the Court need not conduct a review.

         ACCORDINGLY, IT IS HEREBY ORDERED that the Report and Recommendation

[docket entry 236] is ACCEPTED and ADOPTED as the opinion of this Court.

         IT IS FURTHER ORDERED that Petitioner’s motion to vacate, set aside, or correct

sentence [docket entry 226] is DENIED.

         SO ORDERED.


Dated:       February 2, 2006                              s/Paul V. Gadola
                                                           HONORABLE PAUL V. GADOLA
                                                           UNITED STATES DISTRICT JUDGE




                                            Certificate of Service

         I hereby certify that on February 3, 2006 , I electronically filed the foregoing paper
         with the Clerk of the Court using the ECF system which will send notification of such filing
         to the following:
                                         James C. Mitchell                                 , and I
         hereby certify that I have mailed by United States Postal Service the paper to the
         following non-ECF participants:                  Willie M. Mitchell                        .



                                                           s/Ruth A. Brissaud
                                                           Ruth A. Brissaud, Case Manager
                                                           (810) 341-7845




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